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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA

CHRISTINA WALSH, on behalf of                :
herself and all others similarly situated,   :
                                             :
                Plaintiff,                   :
                                             : Case No.:
       v.                                    :
                                             :
RITTERS DINER, INC. and ORESTIS J.           :
VELISARIS, both jointly and severally,       : COMPLAINT IN CIVIL ACTION
                                             :
                Defendants.                  :



                                              Filed on Behalf of Plaintiff:
                                              Christina Walsh

                                              Counsel of Record for this Party:
                                              J.P. WARD & ASSOCIATES, LLC

                                              Joshua P. Ward
                                              Pa. I.D. No. 320347

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                      IN THE UNITED STATES DISTRICT COURT
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 CHRISTINA WALSH, on behalf of                     :
 herself and all others similarly situated,        :
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                 Plaintiff,                        :
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        v.                                         :
                                                   :
 RITTERS DINER, INC. and ORESTIS J.                :
 VELISARIS, both jointly and severally,            :
                                                   :
                 Defendants.                       :


                     CLASS ACTION COMPLAINT IN CIVIL ACTION

       AND NOW, comes Plaintiff, Christina Walsh, by and through the undersigned counsel,

J.P. Ward & Associates, LLC and, specifically, Joshua P. Ward, Esquire, who files the within

Class Action Complaint in Civil Action against Defendants, Ritter’s Diner, Inc. and Orestis J.

Velisaris, both jointly and severally, of which the following is a statement:

                                             PARTIES

       1.       Plaintiff, Christina Walsh (hereinafter “Plaintiff”), is an adult individual who

currently resides at 3524 Balboa Street, Pittsburgh, PA 15213.

       2.       Defendant, Ritter’s Diner, Inc., (hereinafter “Ritter’s Diner”), is a corporation with

its principal place of business located at 5221 Baum Blvd, Pittsburgh, Pennsylvania 15224.

       3.       Defendant, Orestis J. Velisaris, (hereinafter, “Mr. Velisaris”), is the President of

Ritter’s Diner, and therefore a managing individual of Ritter’s Diner within the definitional

purview of the FLSA.




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                                   JURISDICTION AND VENUE

        4.       Jurisdiction is proper as Plaintiff brings this lawsuit under the Fair Labor Standards

Act, 29 U.S.C. §201, et seq. (hereinafter “the FLSA”), the Pennsylvania Minimum Wage Act, 43

Pa. Stat. Ann. §333.101, et seq. (hereinafter “the PMWA”), and the Wage Payment and Collection

Law, (hereinafter “WPCL”), 43 P.S. §260.1 et seq.

        5.       This Court has supplemental jurisdiction over Plaintiff’s state law claims pursuant

to 28 U.S.C. § 1367(a).

        6.       Plaintiff is a resident and citizen of Pennsylvania, a substantial part of the events or

omissions giving rise to the claims occurred in Western Pennsylvania, and, therefore, this action

is within the jurisdiction of the United States District Court for the Western District of

Pennsylvania and the venue is proper pursuant to 28 U.S.C. § 1391(b).

                                     ALLEGATIONS OF FACT

    A. Failure to Pay Minimum Wage
        7.       Plaintiff Representative was a waitress for Ritter’s Diner, beginning in March of

2018 until August 7, 2021.

        8.       Throughout her employment, Ritter’s Diner had a policy in which waiters and

waitresses were required to pay the bill of customers who left the restaurant without paying their

bill.

        9.       Additionally, Ritter’s Diner withheld paychecks from waiters and waitresses to

reimburse the restaurant for pick-up orders not picked up by the customer or delivery driver.

        10.      Although working the register was not a job duty for waiters and waitresses, if order

tickets went missing due to an oversight at the register, the waiters and waitresses were required

to reimburse the restaurant for each misplaced ticket.



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       11.      Lastly, Defendants would often take the cash tips provided to waiters and waitresses

for their service and place them in the donation bucket.

       12.      As of the filing of this Complaint, Plaintiff Representative has yet to be

compensated for her final four paychecks or reimbursed for all misplaced tickets, “dine-and-dash”

orders, and unclaimed pick-up orders throughout her employment.

       13.      Upon information and belief, there are dozens, if not more, similarly situated

potential class members whom Defendant has illegally deducted wages for “dine-and-dash”

orders, and unclaimed pickup orders.

       14.      Upon information and belief, the payroll records of Defendant will allow Plaintiff

Representative to ascertain the damages owed to the Class Members.

                                     CLASS ALLEGATIONS

       15.      Plaintiff brings these claims on behalf of the following class pursuant to Rule 23 of

the Federal Rules of Civil Procedure.

       The Class consists of all individuals to whom Defendants unlawfully withheld cash
       tips and compensation for all hours worked as reimbursement for unpaid customer
       bills, unclaimed pick-up orders, and misplaced tickets.
       16.      Excluded from the classes are Defendants, Ritter’s Diner and Mr. Velisaris, as well

as their past and present officers, employees, agents or affiliates, any judge who presides over this

action, and any attorneys who enter their appearance in this action.

       17.      Plaintiff reserves the right to expand, limit, modify, or amend the class definitions,

including the addition of one or more subclasses, in connection with their motion for class

certification, or at any other time, based on, among other things, changing circumstances and new

facts obtained during discovery.




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        18.      Questions of law and fact common to the Plaintiff’s class, predominate over any

issues involving only individual class members. The primary issues concern: Defendants’

withholding of waiters and waitresses’ cash tips and compensation for all hours worked as

reimbursement for unpaid customer bills, unclaimed pick-up orders, and misplaced tickets,

therefore failing to compensate waiters and waitresses at a rate of at least minimum wage in

violation 29 U.S.C. §201, et seq. of the FLSA, 43 Pa. Stat. Ann. §333.101, et seq. of the PMWA,

and 43 P.S. §260.9 of the Wage Payment and Collection Law.

        19.      This action has been brought, and may properly be maintained, as a class action

pursuant to the provisions of Rule 1702 of Pennsylvania Civil Procedure because of a well-defined

public interest in this litigation:

        20.      Numerosity – Pennsylvania Rule of Civil Procedure 1702(1). Upon information

and belief, the members of Class are so numerous that individual joinder of all class members is

impracticable because there are dozens of persons where Defendants have withheld cash tips and

compensation for all hours worked as reimbursement for unpaid customer bills, unclaimed pick-

up orders, and misplaced tickets.

        21.      The identities of all class members are readily ascertainable from the records of

Defendants.

        22.      Commonality – Pennsylvania Rule of Civil Procedure 1702(2). This action

involves questions of law and fact that are common to the class members. Such common questions

include, but are not limited to:

        a.       Whether Defendants’ withheld cash tips and compensation for all hours worked as

reimbursement for unpaid customer bills, unclaimed pick-up orders, and misplaced tickets in




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violation of 29 U.S.C. §201, et seq. of the FLSA, 43 Pa. Stat. Ann. §333.101, et seq. of the PMWA,

and 43 P.S. §260.9 of the Wage Payment and Collection Law.

       b.       Whether Plaintiff and the Class are entitled to relief in the forms, including but not

limited to, declaratory or injunctive in nature.

       23.      Typicality – Pennsylvania Rule of Civil Procedure 1702(3). The Plaintiff’s

claims are typical of the other class members’ claims because, among other things, all class

members were comparably injured. The Plaintiff and all members of the Plaintiff Class have claims

arising out of the Defendants’ common uniform course of conduct complained of herein.

       24.      Adequacy of Representation – Pennsylvania Rule of Civil Procedure 1702(4)

and 1709. Plaintiff is an adequate representative of the Class because her interests do not conflict

with the interests of the other class members Plaintiff seeks to represent; Plaintiff has retained

counsel competent and experienced in complex class action litigation; Plaintiff intends to

prosecute this action vigorously; and Plaintiff’s counsel has adequate financial means to

vigorously pursue this action and ensure the interests of the classes will not be harmed.

Furthermore, the interests of the class members will be fairly and adequately protected and

represented by Plaintiff and Plaintiff’s counsel.

       25.      Predominance – Pennsylvania Rule of Civil Procedure 1708(a)(1). Common

questions of law and fact predominate over any questions affecting only individual class members.

Defendants’ liability and the fact of damages is common to Plaintiff and each member of the Class.

       26.      Manageability – Pennsylvania Rule of Civil Procedure 1708(a)(1). While the

precise size of the class is unknown without the disclosure of Defendants’ records, the claims of

Plaintiff and the class members are substantially identical as explained above. Certifying the case

as a class action will centralize these substantially identical claims in a single proceeding and



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adjudicating these substantially identical claims at one time is the most manageable litigation

method available to Plaintiff and the Class.

       27.      Risk of Inconsistent, Varying, or Prejudicial Adjudications – Pennsylvania

Rule of Civil Procedure 1708(a)(3). If the claims of Plaintiff and the members of the Class were

tried separately, Defendants may be confronted with incompatible standards of conduct and

divergent court decisions. Furthermore, if the claims of Plaintiff and the members of the Class

were tried individually, adjudications with respect to individual class members and the propriety

of their claims could be dispositive on the interests of other members of the class not party to those

individual adjudications and substantially, if not fully, impair or impede their ability to protect

their interests. A Class Action will permit large numbers of similarly situated persons to prosecute

their common claims in a single forum simultaneously and without the duplication of effort and

expense that numerous individual actions would engender.

       28.      Litigation Already Commenced – Pennsylvania Rule of Civil Procedure

1708(a)(4). To Plaintiff’s knowledge, there are no other cases that have been brought against

Defendants, or that are currently pending against Defendants, where a Pennsylvania consumer

seeks to represent a class of Pennsylvania residents based on the conduct alleged in this Class

Action Complaint.

       29.      The Appropriateness of the Forum - Pennsylvania Rule of Civil Procedure

1708(a)(5). This is the most appropriate forum to concentrate the litigation because Defendants

are subject to general jurisdiction in this County and a substantial number of class members were

injured in this County.

       30.      The Class Members' Claims Support Certification - Pennsylvania Rule of Civil

Procedure 1708(a)(6) and (7). Given the amount recoverable by each Class member, the expenses



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of individual litigation are insufficient to support or justify individual suits. Furthermore, the

damages that may be recovered by the Class will not be so small such that class certification is

unjustified. Class treatment will permit the adjudication of relatively small claims by many class

members who could not otherwise afford to seek legal redress for the wrongs complained of herein.

Absent a Class Action, class members will continue to suffer the loss of statutory protected rights

as well as monetary damages.

        31.      The General Applicability of Defendants' Conduct - Pennsylvania Rule of

Civil Procedure 1708(b)(2). Defendants’ uniform conduct is generally applicable to the Class as

a whole, making equitable and declaratory relief appropriate with respect to each class member.

                                     COUNT I
                 FAILURE TO PAY MINIMUM WAGE IN VIOLATION OF
                        THE FAIR LABOR STANDARDS ACT
                               29 U.S.C. § 206, et seq.

        32.      Plaintiff incorporates the allegations contained in the paragraphs, above, as if fully

set forth at length herein.

        33.      Under the FLSA, employers are required “to pay their employees at least a specified

minimum hourly wage for work performed, 29 U.S.C. § 206, and to pay one and one-half times

the employee’s regular rate of pay for hours worked in excess of forty hours per week, 29 U.S.C.

§ 207.” De Asencio v. Tyson Foods, Inc., 342 F.3d 301, 306 (3d Cir. 2003).

        34.      Plaintiff and the Class Members are “employees” as defined by 29 U.S.C.

§203(e)(1) of the FLSA.

        35.      Defendants are an “employer” as defined by 29 U.S.C. §203(d) of the FLSA.

        36.      Defendants withheld cash tips and compensation for all hours worked as

reimbursement for unpaid customer bills, unclaimed pick-up orders, and misplaced tickets in

violation of 29 U.S.C. §206(a)(1).

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        37.      Pursuant to the FLSA, once a plaintiff establishes a right to payment “of their…

unpaid minimum wages,” liquidated damages in an “additional equal amount” is warranted. 29

U.S.C. § 216(b).

        38.      Furthermore, the FLSA’s liquidated damages provisions “is not penal in nature but

constitutes compensation for the retention of a workman’s pay which might result in damages too

obscure and difficult of proof for estimate other than by liquidated damages.” Andrews v. Cross

Atlantic Capital Partners, Inc., 158 A.3d 123, 134 (Pa. Super. 2017) (quoting Brooklyn Savings

Bank v. O'Neil, 324 U.S. 697, 707 (1945)).

        39.      As a direct and proximate result of the aforementioned conduct, Plaintiff and the

Class Members suffered actual damages, including, but not limited to, lost wages and emotional

distress in the past, present and future.

                                   COUNT II
                 FAILURE TO PAY MINIMUM WAGE IN VIOLATION OF
                     THE PENNSYLVANIA MINIMUM WAGE ACT

        40.      Plaintiff incorporates the allegations contained in the paragraphs, above, as if fully

set forth at length herein.

        41.      The PMWA states that “[e]very employer shall pay to each of his or her employees’

wages for all hours worked at a rate of not less than . . . [s]even dollars fifteen cents ($7.15) an

hour beginning July 1, 2007.” 43 Pa. Stat. § 333.104(a) (8); see Ford-Greene v. NHS, Inc., 106 F.

Supp. 3d 590, 612–13 (E.D.Pa. 2015).

        42.      Because the PMWA “substantially parallels” the FLSA, this Court should look to

the federal courts' interpretation of the FLSA when analyzing claims under the

PMWA. Philadelphia Metal Trades Council v. Konnerud Consulting W., A.S., No. CV 15-5621,

2016 WL 1086709, at *5 (E.D. Pa. Mar. 21, 2016) (citing Ford-Greene, 106 F. Supp. 3d at 610–


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13 (applying the Third Circuit's analysis in Davis to the plaintiff's claims under both the FLSA and

PMWA).

           43.   Thus, “plaintiff-employees asserting PMWA violations must substantiate their

claims by demonstrating that they performed work for which they were not paid . . . and that the

defendant-employer had actual or constructive knowledge of the plaintiff’s overtime work.” Alers

v. City of Philadelphia, 919 F. Supp. 2d at 560.

           44.   Defendants withheld waiters and waitresses’ cash tips and compensation for all

hours worked as reimbursement unpaid customer bills, unclaimed pick-up orders, and misplaced

tickets.

           45.   Plaintiff and the Class Members have yet to be fully and properly compensated for

cash tips and all hours worked withheld as reimbursement for unpaid customer bills, unclaimed

pick-up orders, and misplaced tickets to which they are entitled.

           46.   As a direct and proximate cause of the aforementioned conduct, Plaintiff and the

Class Members suffered actual damages, including, but not limited to, wage loss, loss of income,

and emotional distress damages, all in the past, present and future.

           47.   As set forth hereinabove, Defendants’ actions were intentional, knowing, wanton,

willful, and so outrageous as to shock the conscience.

                                            COUNT III
                                     Pa. WPCL VIOLATIONS
                                        43 P.S. §260.1 et seq

           48.   Plaintiff incorporates the allegations contained in the paragraphs, above, as if fully

set forth at length herein.

           49.   Under the WPCL, the definition of employer “includes every person, firm,

partnership, association, corporation, receiver or other officer of a court of this Commonwealth



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and any agent or officer of any of the above-mentioned classes employing any person in this

Commonwealth.” 43 P.S. §260.2a.

         50.   The Pennsylvania WPCL, 43 P.S. §260.1 et seq., however, does not provide “a

statutory definition of the term ‘employee’.” Frank Burns, Inc. v. Interdigital Communs. Corp,

704 A.2d 678, 680-81 (Pa Super. 1997).

         51.   Courts in Pennsylvania have held that “any person in Pennsylvania can qualify as

an employee under the WPCL,” because “grammatically, an ‘employee’ is an entity that is

employed,” and “in the definition of employer, the entity employed by the employer, i.e., the

employee, is any person in Pennsylvania.” Frank Burns v. Interdigital Communs. Corp., at 681.

         52.   Pennsylvania courts have thus narrowed the definition of employee accordingly:

“those who work in Pennsylvania can sue under the Pennsylvania statute, but those who do not

work in Pennsylvania cannot.” Id. Citing Killian v. McCulloch, 873 F. Supp. 938, 942 (E.D. Pa.

1995).

         53.   As a company conducting business and employing person(s) in the Commonwealth

of Pennsylvania, Defendants are “an employer” within the definition of the WPCL 43 Pa. C.S.

§260.1a.

         54.   Plaintiff and the Class Members, based on the law cited above, were employees of

Defendants working within the Commonwealth of Pennsylvania.

         55.   Throughout Plaintiff’s employment, Defendants withheld cash tips and

compensation for all hours worked as reimbursement for unpaid customer bills, unclaimed pick-

up orders, and misplaced tickets.




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        56.     As of the date of the filing of this Complaint, Plaintiff and the Class Members have

yet to be compensated for cash tips and compensation for all hours worked withheld for unpaid

customer bills, unclaimed pick-up orders, and misplaced tickets.

        57.     As a direct and proximate result of the aforementioned conduct, Plaintiff and the

Class Members suffered actual damages, including, but not limited to, lost wages and emotional

distress in the past, present and future.



                                         COUNT IV
                                    BREACH OF CONTRACT


        58.     Plaintiff incorporates the allegations contained in the paragraphs above as if fully

set forth at length herein.

        59.     Plaintiff and the Class Members were entitled, as part of Defendants’ employment

contract, to paid for all hours worked and to receive all cash tips provided for their service.

        60.     Defendants were bound by the duty of good faith and fair dealing. As such,

Defendants had a duty to compensate Plaintiff and the Class Members for all tips provided by

customers and hours worked.

        61.     Defendants failed to ensure accuracy of Plaintiff and the Class Members’ wage

payment information thus depriving them of their earned benefit.

        62.     All conditions precedent to recovery have occurred.

        63.     As a direct result of this breach of contract, Plaintiff and the Class Members have

suffered damages as set forth hereinabove.

                                        COUNT V
                        QUASI-CONTRACT / UNJUST ENRICHMENT
                                 (Pled in the Alternative)



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           64.      Plaintiff incorporates the allegations contained in the paragraphs above as if fully

set forth at length herein.

           65.      Plaintiff and the Class Members had an expectation of payment from Defendants.

           66.      Plaintiff and the Class Members conferred a benefit upon Defendants.

           67.      Defendants appreciated the benefit of Plaintiff and the Class Members’ time and

efforts.

           68.      It would be manifestly unjust if the Defendants’ acceptance and retention of such

benefits were permitted without payment of value to Plaintiff and the Class Members.

           69.      As a direct and proximate cause of the aforementioned conduct, Plaintiff and the

Class Members suffered actual damages, including, but not limited to, wage loss, loss of income.

                                         PRAYER FOR RELIEF

           WHEREFORE, Plaintiff, Christina Walsh, on her own behalf and on behalf of the class

members, respectfully requests this Honorable Court enter judgment in Plaintiff’s favor and

against Defendant, Ritter’s Diner, Inc., and Orestis J. Velisaris, as follows:

           A. Declaring this action a proper class action, certifying the classes as requested herein,

                 designating Plaintiff as a Class Representative and appointing the undersigned counsel

                 as Class Counsel;

           B. Pursuant to 29 U.S.C. § 216(b) sending prompt notice of this litigation to all potential

                 Class members;

           C. Judgment against Defendants for their failure to pay Plaintiff and those similarly

                 situated for all hours worked and the withholding of waiters and waitresses’ cash tips

                 and paychecks for unpaid customer bills, unclaimed pick-up orders, and misplaced

                 tickets in accordance with the standards set forth by the FLSA;



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D. Judgment against Defendants for their failure to pay Plaintiff and those similarly

   situated for all hours worked and the withholding of waiters and waitresses’ cash tips

   and paychecks for unpaid customer bills, unclaimed pick-up orders, and misplaced

   tickets in accordance with the standards set forth by the PMWA;

E. Judgment against Defendants for their failure to pay Plaintiff and those similarly

   situated for all hours worked and the withholding of waiters and waitresses’ cash tips

   and paychecks for unpaid customer bills, unclaimed pick-up orders, and misplaced

   tickets in accordance with the standards set forth by the WPCL;

F. An award against Defendants for the amount of unpaid wages owed to Plaintiff and

   those similarly situated;

G. An award of liquidated damages equal to the total amounts of unpaid wages owed to

   Plaintiff and those similarly situated;

H. An award of treble damages equal to the total amounts of unpaid wages owed to

   Plaintiff and those similarly situated;

I. An award of reasonable attorney’s fees and costs to Plaintiff and the other members of

   the class to be satisfied in full by Defendants;

J. Ordering Defendants to pay both pre- and post-judgment interest on any amounts

   awarded;

K. Leave to add additional plaintiffs, opt-in or party, through the filing of consent forms;

   and

L. Ordering such other and further relief as may be just and proper by this Honorable

   Court.




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                                  REQUEST FOR JURY TRIAL

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff respectfully

requests a jury on all matters so triable.



                                                     Respectfully submitted,

                                                     J.P. WARD & ASSOCIATES, LLC



Date: March 22, 2022                                 By:
                                                           Joshua P. Ward (Pa. I.D. No. 320347)

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